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  6   Attorneys for Defendants,
      COMPTON UNIFIED SCHOOL DISTRICT, a
  7   public entity, CESAR FLORES, a public entity
      employee, and PRECIOUS YOUNG, a public entity
  8   employee
  9                         UNITED STATES DISTRICT COURT
 10                       CENTRAL DISTRICT OF CALIFORNIA
 11

 12   TERESA R. LOGAN,                      Case No.: 8:16-cv-1695-CJC (KESx)
 13                                         (Complaint Filed 9/12/16)
                        Plaintiff,          (Assigned to Honorable Cormac J. Carney)
 14

 15   vs.                                   [PROPOSED] JUDGMENT

 16   COMPTON UNIFIED SCHOOL
 17   DISTRICT,        CESAR    FLORES,
      PRECIOUS YOUNG, AND DOES DATE: September 23, 2019
 18   1-10, Inclusive,                  TIME: 1:30 p.m.
 19                                     COURTROOM: 7C
                         Defendants.
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 21

 22   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 23         PLEASE TAKE NOTICE that on October 10, 2019, the motion for
 24   summary judgment of defendants COMPTON UNIFIED SCHOOL DISTRICT, a
 25   public entity, CESAR FLORES, a public entity employee, and PRECIOUS
 26   YOUNG, a public entity employee, (collectively “Defendants”), to the Verified First
 27   Amended Complaint of plaintiff, TERESA LOGAN, (“Plaintiff”), and the motion
 28   for summary judgement of Plaintiff came up for hearing in Courtroom 7C of the
                                              1
                                     [PROPOSED] JUDGMENT
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  1   above-entitled Court, located at 350 W. 1st Street, Los Angeles, CA 90012.
  2         Having considered all moving and opposition papers filed by the parties; all
  3   records filed in this matter; and having heard oral arguments, the Court finds in
  4   favor of Defendants and against Plaintiff.      Accordingly, the Court DENIED
  5   Plaintiff’s motion for summary judgment and GRANTED Defendants’ motion for
  6   summary judgment. This Court’s Opinion was entered on October 11, 2019.
  7

  8         NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED:
  9      1. Plaintiff shall take nothing by her operative complaint against Defendants.
 10      2. Judgment is hereby entered in this case in favor of Defendants and against
 11         Plaintiff.
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      DATED:                                        ______________________________
                                                    Honorable Cormac J. Carney
 15                                                Judge, U.S. District Court.
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                                     [PROPOSED] JUDGMENT
